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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


PHILIP DAHLIN and MARY ARNDTSEN,
on behalf of themselves and all others
similarly situated,

               Plaintiffs,
                                                  CIVIL ACTION NO. 2:21-cv-02020-WB
                       v.

TESLA, INC.,

               Defendant.


DECLARATION OF KENDRA WILLIAMS IN SUPPORT OF TESLA’S MOTION TO
                    COMPEL ARBITRATION




     I, Kendra Williams, declare as follows:

     1.     I am Senior Paralegal for Consumer Litigation at Tesla, Inc. (“Tesla”), where I
     have been employed for more than 3 years. My job responsibilities include receiving and
     tracking customers’ notices to opt out of arbitration agreements and I have knowledge of
     Tesla’s general practices and procedures for tracking such opt outs. Except as otherwise
     noted, I have personal knowledge of the following facts and if called to testify could and
     would testify competently thereto.
     2.     I understand from the Complaint, and Tesla’s records show, that plaintiffs Philip
     Dahlin and Mary Arndtsen (“Plaintiffs”), husband and wife, placed an order for a solar
     roof system with Tesla on September 17, 2020, by executing a Solar Roof Purchase &
     Home Improvement Agreement (the “Solar Agreement”) with Mr. Dahlin’s electronic
     signature. Compl. ¶ 23, Ex. A.
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3.        The Solar Agreement contains an arbitration provision, which is contained in a
box outlining the text and states, in pertinent part:
      Agreement to Arbitrate. Please carefully read this provision, which
      applies to any dispute between you and Tesla, Inc. and its affiliates
      (together “Tesla”).

      If you have a concern or dispute, please send a written notice describing it
      and your desired resolution to resolutions@tesla.com.

      If not resolved within 60 days, you agree that any dispute arising out of or
      relating to any aspect of the relationship between you and Tesla will not
      be decided by a judge or jury but instead by a single arbitrator in an
      arbitration administered by the American Arbitration Association (AAA)
      under its Consumer Arbitration Rules. This includes claims arising before
      this Agreement, such as claims related to statements about our products.

      …

      The arbitrator may only resolve disputes between you and Tesla, and may
      not consolidate claims without the consent of all parties. The arbitrator
      cannot hear class or representative claims or requests for relief on behalf
      of others purchasing or leasing Tesla products. In other words, you and
      Tesla may bring claims against the other only in your or its individual
      capacity and not as a plaintiff or class member in any class or
      representative action.

      …

      You may opt out of arbitration within 30 days of signing this Agreement
      by sending a letter to [Tesla at a designated address].

      …

     Solar Agreement, ¶16 (bold in original).

4.        Tesla maintains a record of the opt-out requests it receives from customers in
Grid. I searched this database on July 1, 2021 and determined that there is no record
showing that either of the Plaintiffs mailed an opt-out request to Tesla at the designated

address.




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       I declare under penalty of perjury under the laws of the United States of America that this

Declaration is true and correct. Executed on this 1st day of July 2021 in Santa Clara, California.




                                                            ______________________________

                                                            Kendra Williams




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